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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 13-cv-03412-WYD-BNB

  COLETTE DREWITT,

                Plaintiff,

  v.

  ENHANCED RECOVERY COMPANY, LLC, a Delaware limited liability company,

               Defendant.


                   NOTICE OF DISMISSAL WITH PREJUDICE
  ______________________________________________________________________

        COMES NOW the Plaintiff by her undersigned attorney of record who hereby

  notifies the Court that the parties have settled this case and pursuant to Fed.R.Civ.P.

  41(a)(1)(A)(i) hereby dismisses this case with prejudice and on the merits pursuant

  hereto with each party to pay her or its own attorney’s fees and costs.


  Dated: January 20, 2014.


                                           Respectfully submitted,


                                           _s/ David M. Larson____________
                                           David M. Larson, Esq.
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                                           Attorney for the Plaintiff
